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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                No. 11-MDL-2210-DIMITROULEAS



   IN RE: LISTERINE TOTAL CARE MOUTHWASH
   MARKETING AND SALES PRACTICES LITIGATION

   This Document Relates to: All Actions
   ____________________________________/



                            DECLARATION OF JOSH GHAIM, Ph.D.

   I, Josh Ghaim, Ph.D., under penalty of perjury, declare as follows:

                  1.     I am Vice President of Oral Healthcare Research & Development for

   Johnson & Johnson Consumer & Personal Products Worldwide. I have held this position for

   two years and am responsible for research and development on a number of consumer products

   sold by Johnson & Johnson, including the Listerine® brand of oral care products.

                  2.     I submit this declaration based upon my personal knowledge in support of

   Defendants’ Motion for Summary Judgment. While I understand that multiple defendants are

   named in the plaintiffs’ complaints, I refer to defendants collectively as “McNeil” throughout

   this declaration. McNeil-PPC, Inc. is the Johnson & Johnson subsidiary that develops and

   manufactures Listerine products.

   Prior Work and Educational Experience

                  3.     I began my career as a research scientist in the field of skin cleansing at

   the Colgate Palmolive Company in Piscataway, New Jersey. I held this position from March

   1997 to November 1999. In that role, I led a product development team in the creation of new
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   antibacterial products, including the design and implementation of scientific studies needed for

   advertising claim substantation.

                  4.      From November 1999 to November 2001, I worked as a Technical

   Associate in the Global Skin Care division of Colgate, based in Piscataway and in Liege,

   Belgium. In that role, I led a product development team in launching several new products,

   including shower gels, soaps, deodorants, and antiperspirants. I also worked with raw material

   suppliers across Europe and the U.S.

                  5.      From December 2001 to December 2004, I worked as a Manager and

   Senior Technical Associate in the Global Skin Care division of Colgate. In that role, I was in

   charge of 20 senior scientists and managers that worked to develop new skin care products. I

   interfaced with marketing, legal, regulatory, manufacturing, and sales groups to ensure that

   products could successfully come to market.

                  6.      From January 2004 to March 2005, I was the Manager of Global Oral

   Care at Colgate, working in Piscataway and at locations in China. I oversaw the development of

   new oral care products across the world, including a new anti-cavity toothpaste. I had direct and

   indirect supervisory responsibility for staff in Brazil, Mexico, Belgium, China, India, the

   Philippines, and the United States. My team developed new products and provided scientific

   support for advertising claims.

                  7.      In March 2005, I moved to Pfizer Consumer Healthcare in Morris Plains,

   New Jersey, where I was appointed Director of Product Development in Pfizer’s Over-the-

   Counter Technology Platform. I managed a group of 12 scientists and managers who were

   tasked with developing new “platforms” for delivering therapeutic benefits to customers, such as




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   new dissolving film strips and better tasting formulations. Scientists working under my

   supervision performed the testing needed to evaluate and asses these new platforms.

                  8.      In December 2006, I joined Johnson & Johnson as part of that company’s

   acquisition of Pfizer. From December 2006 to September 2008, I worked as Global Director of

   the Advanced Technologies Group, overseeing global technology development, including the

   scientific testing needed the evaluate and asses new technologies and new forms of drug

   delivery.

                  9.      In October 2008, I was promoted to Senior Director of Global Oral Care

   Product Development. In that role, I was responsible for development of all new oral care

   products, including mouthwashes, toothbrushes, floss products, toothpastes, and other oral care

   products, including Listerine products.

                  10.     In August 2009, I assumed my current position as Vice President of

   Global Oral Care Research & Development. In this role, I focus on the scientific research that is

   needed to bring new products to market, and oversee each step of the product development and

   clinical research process.

                  11.     I hold a B.S. degree from Indiana University, where I majored in

   Chemistry and minored in Mathematics, and a Ph.D. in Biochemistry/Molecular Biology from

   the University of Illinois (Champaign-Urbana), which I was awarded in October 1996.

                  12.     Over the course of my career, I have acquired substantial knowledge and

   expertise in the field of oral care. I am well-versed in the design and methods of clinical

   research on oral care products, as well as the scientific evidence that supports the efficacy of

   Listerine mouthwashes. I also have personal knowledge of the contents and labeling of Listerine

   Antiseptic and Listerine Total Care Anticavity Mouthwash (“Listerine Total Care”).




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                  13.     My responsibilities also require me to review and understand U.S. Food

   and Drug Administration (“FDA”) rules and regulations concerning oral care products, including

   the Agency’s publications and pronouncements regarding the safety and efficacy of

   antiplaque/antigingivitis mouthwashes.

                  14.     Attached hereto as Exhibit A is a copy of my curriculum vitae.

   Listerine Total Care Anticavity Mouthwash

                  15.     Listerine Total Care was introduced in the United States in or about

   February 2009.

                  16.     A true and correct copy of the Listerine Total Care formula is attached

   hereto as Exhibit B.

                  17.     As the formula shows, Listerine Total Care contains sodium fluoride.

                  18.     Sodium fluoride is widely known to help fight cavities, and I understand

   that plaintiffs do not dispute that Listerine Total Care provides an anticavity benefit.

                  19.     As the formula shows, Listerine Total Care also contains four “essential

   oils”: menthol, eucalyptol, menthyl salicylate and thymol. As explained in detail below, this

   specific combination of essential oils has been shown to effectively combat plaque and

   gingivitis.

                  20.     In fact, the essential oils in Listerine Total Care are the same as those

   found in Listerine Antiseptic mouthwash. A true and correct copy of the Listerine Antiseptic

   label showing the concentrations of these ingredients is attached as Exhibit C.

                  21.     Listerine Antiseptic has been sold in the United States for more than 100

   years, and is widely used to help prevent plaque and gingivitis. Indeed, according to a recent

   article, mouthwashes containing essential oils such as those in Listerine products have been




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   successfully used by millions of people, particularly in the United States. See Stoeken, J., et al.,

   The Long-Term Effect of a Mouthrinse Containing Essential Oils on Dental Plaque and

   Gingivitis: A Systematic Review, 78 J. Periodontol. 7 (2007), at 1219. A true and correct copy

   of this article is attached hereto as Exhibit I.

   The Listerine Total Care Label

                   22.     Though it contains both antiplaque and anticavity ingredients, I understand

   that, by virtue of the FDA’s detailed regulations, Listerine Total Care is classified as an

   anticavity mouthwash, so the label for the product must identify sodium fluoride – the anticavity

   agent – as the product’s sole active ingredient. All other ingredients in Listerine Total Care must

   be listed as “inactive” ingredients.

                   23.     On the label for Listerine Total Care, menthol, eucalyptol, methyl

   salicylate and thymol are properly referred to collectively as “flavors” among the product’s

   inactive ingredients. A true and correct copy of the current U.S. label for Listerine Total Care is

   attached hereto as Exhibit D.

                   24.     Though menthol, eucalyptol, methyl salicylate and thymol are not

   identified on the Listerine Total Care label by name, these essential oils are present in Listerine

   Total Care at efficacious concentrations.

   FDA’s Recognition of the Efficacy of Essential Oils

                   25.     Mouthwashes containing eucalytpol, menthol, methyl salicylate and

   thymol have been extensively studied, and their benefits in combatting plaque and gingivitis are

   well-established.

                   26.     In 1998, the FDA asked a subcommittee of dental experts to advise the

   Agency on which products FDA should recognize as safe and effective for the prevention of




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   plaque and gingivitis. The subcommittee is formally named the Dental Plaque Subcommittee of

   the Nonprescription Drugs Advisory Committee.

                   27.     The subcommittee undertook a thorough review of the available scientific

   evidence concerning the antiplaque and antigingivitis benefits of essential oils. Among other

   things, the subcommittee reviewed seven placebo-controlled clinical trials that assessed the

   efficacy of essential oil mouthwashes over six months of use.

                   28.     FDA published the subcommittee’s recommendations in 2003. The report

   stated that, “Based on the data submitted, the Subcommittee concludes that the combination of

   eucalyptol (0.092 percent), menthol (0.042 percent), methyl salicylate (0.060 percent), and

   thymol (0.064 percent) in a hydroalcoholic vehicle containing 21.6 to 26.9 percent alcohol in a

   mouthrinse is safe and effective as an [over-the-counter] antigingivitis/antiplaque agent.” FDA

   Advanced Notice of Proposed Rulemaking, Oral Health Care Drug Products for Over-the-

   Counter Human Use, 68 Fed. Reg. 32232, 32256 (May 29, 2003) (“Antiplaque Monograph”). A

   true and correct copy of the Antiplaque Monograph is attached hereto as Exhibit E.

                   29.     FDA has adhered to the subcommittee’s conclusions regarding the

   efficacy of essential oil containing mouthwashes ever since.

                   30.     Of note, Listerine Total Care contains eucalyptol, menthol, methyl

   salicylate and thymol at levels that meet or exceed the levels that the subcommittee considered

   efficacious for plaque and gingivitis prevention. Specifically, Listerine Total Care contains

   eucalyptol (0.0922% weight/volume), menthol (0.0425% weight/volume), methyl salicylate

   (0.0660% weight/volume) and thymol (0.0639% weight/volume).1


   1
    The concentration of pure menthol shown in the Listerine Total Care formula is 0.0344%
   weight/volume. The final menthol concentration in the product, however, is higher due to the addition of
   Smoothmint flavoring, which contains menthol. This fact is noted in footnote (2) of the formula. See
   Exhibit B.



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   Published Literature Concerning the Efficacy of Essential Oils

                  31.     The conclusion that eucalyptol, menthol, methyl salicylate and thymol are

   effective antiplaque and antigingivitis agents is supported by numerous studies and articles that

   have been published in the scientific literature. True and correct copies of three recent examples

   of such articles are attached hereto as Exhibits G, H, and I.

                  32.     Exhibits G and H appeared in a special issue of the Journal of Dentistry

   that was published in 2010 entitled “The role of daily use of mouthrinses in maintaining oral

   health.” According to the Introduction to the issue, its purpose was “to review, and provide an

   update, on current thinking regrading the use of oral mouthrinses, including microbiological and

   clinical evidence to support their efficacy.” A true and correct copy of the Introduction is

   attached hereto as Exhibit F.

                  33.     The first article (Exhibit G), by Daniel H. Fine, Chair of the Department of

   Oral Biology at the University of Medicine and Dentistry of New Jersey, is entitled “Listerine:

   past, present and future – a test of thyme.” It provides a summary of the history and clinical

   evidence behind Listerine mouthwashes. In pertinent part, the article notes that, “As for [the

   clinical studies conducted on] Listerine, over 95% of 21 studies of 6 months or greater showed

   20% or greater reduction in plaque and gingivitis.” See Exhibit G, p. S3.

                  34.     The second article (Exhibit H), by John C. Gunsolley, Professor at the

   Department of Periodontics at Virginia Commonwealth University, is entitled “Clinical efficacy

   of antimicrobial mouthrinses.” According to the article, “The goal of this report is to present the

   current state of the evidence evaluating the efficacy of anti-plaque, anti-gingivitis mouthrinses.”

   See Exhibit H, p. S7. Based upon a systematic review of the “large group of studies evaluating




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   essential oils as an active agent in mouthrinses,” the author concluded that there is now “strong

   evidence that supports anti-plaque, anti-gingivitis mouthrinses as effective agents.” Id. at p. S9.

                  35.        Exhibit I is another recent review article that summarizes the current state

   of the evidence concerning essential oil mouthwashes. This 2007 article, entitled “The Long-

   Term Effect of a Mouthrinse Containing Essential Oils on Dental Plaque and Gigivitis: A

   Systematic Review,” was published in the Journal of Periodontology. According to its authors,

   the “aim of this study was to gather and evaluate, in a systematic manner, available data on the

   adjunctive effect” of essential oil mouthwashes “on plaque and parameters of gingival

   inflammation in studies of ≥6 months’ duration.” Exhibit I, p. 1219. Based on this systematic

   review, the authors concluded that, “When used as an adjunct to unsupervised oral hygiene” such

   as brushing and flossing, “the existing evidence supports that [essential oil mouthwash] provides

   an additional benefit with regard to plaque and gingivitis reduction compared to a placebo or

   control.” Id., p. 1227.

   Clinical Studies Involving Listerine Total Care

                  36.        In addition to the materials discussed above, McNeil has conducted two

   clinical studies that confirm the efficacy of the essential oils in Listerine Total Care. I personally

   oversaw the design and execution of these studies, and I reviewed and maintained their results in

   the normal course of business. True and correct copies of these studies are attached hereto as

   Exhibits J and K. Because these two studies contain confidential and sensitive business

   information, I understand that they are being filed under seal.

                  37.        Exhibit J is the report of a two-week study performed in November 2008.

   The study was conducted among 125 adults. Qualified subjects had their teeth cleaned, and were

   then assigned to one of four test regimens: (1) Group 1 was given Listerine Antiseptic (Cool

   Mint) and instructed to rinse with 20 mL for 30 seconds twice daily; (2) Group 2 was given an



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   essential oil mouthrinse containing sodium fluoride and instructed to rinse with 10 mL for 60

   seconds twice daily; (3) Group 3 was given the same essential oil mouthrinse containing sodium

   fluoride and instructed to rinse with 20 mL for 30 seconds twice daily; and (4) Group 4 was

   given a control mouthwash, which contained alcohol but no essential oils, and instructed to rinse

   with 20 mL for 30 seconds twice daily. The “essential oil mouthrinse containing sodium

   fluoride” that was used by Groups 2 and 3 is the product now known as Listerine Total Care, and

   the rest of this description will simply use that name.

                  38.     Over the next two weeks, subjects adhered to their assigned mouthwash

   regimen and engaged in no other oral hygiene. This “no oral hygiene” test protocol is a valid

   and commonly used method for assessing the efficacy of new mouthwash formulations. See

   Antiplaque Monograph, pp. 32240-41 (recommending that manufacturers conduct a two-week

   study of this type to confirm the efficacy of new mouthwash formulations). It was first

   developed in 1965 when researchers discovered that subjects who engage in no oral hygiene

   develop gingivitis in a matter of a few weeks. See Pejmon Amini et al., Comparative Antiplaque

   and Antigingivitis Efficacy of Three Antiseptic Mouthrinses: A Two Week Randomized Clinical

   Trial, 3 Brazilian Oral Research 319, 323 (2009). A true and correct copy of this article

   discussing the origins of the “no oral hygiene” protocol is attached hereto as Exhibit L.

                  39.     After two weeks, subjects had their teeth and gums examined and

   evaluated using standard plaque and gingivitis assessments.

                  40.     The results of the study showed that, over the two weeks in which subjects

   engaged in no other oral hygiene, Listerine Total Care was statistically significantly better at

   reducing plaque and gingivitis than the control mouthrinse. In addition, Listerine Total Care




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   reduced plaque and gingivitis comparably to (or, in other words, was “not inferior to”) Listerine

   Antiseptic over that time period.

                  41.     Exhibit K is the report of a six-month study involving 408 subjects. The

   purpose of this study was not only to assess the efficacy of Listerine Total Care when used as an

   adjunct to normal brushing, but also to compare the efficacy of Listerine Total Care to a

   competing product.

                  42.     After baseline plaque and gingivitis measurements were taken, subjects

   were randomly assigned to one of three treatment groups: (1) Group 1 was instructed to rinse

   with Listerine Total Care twice per day; (2) Group 2 was instructed to rinse with the competing

   mouthwash twice per day, and (3) Group 3 was instructed to rinse with a placebo or control

   mouthwash twice per day. The study was conducted under examiner-blind conditions.

                  43.     Over the next six months, subjects used their assigned mouthwash as an

   adjunct to normal brushing. Subjects’ teeth were examined, and their plaque and gingivitis

   levels scored, after three months and again after six months.

                  44.     At both the three- and six-month endpoints, subjects who used Listerine

   Total Care had significantly lower plaque and gingivitis scores than subjects who used a placebo

   mouthwash. (Literine Total Care also provided superior plaque and gingivitis benefits when

   compared to the competing product.)

                  45.     Of note, Exhibit K has been accepted for publication in a peer-reviewed

   scientific journal, Quintessence International.

                  46.     In sum, there is abundant scientific evidence, and widespread consensus in

   the scientific and regulatory communities, that the combination of essential oils in Listerine Total

   Care is safe and effective at combatting plaque and gingivitis.




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   “Fights Unsightly Plaque Above the Gum Line”

                  47.     When Listerine Total Care was first introduced for sale in the United

   States, the label stated that the product, among other benefits, “fights unsightly plaque above the

   gum line.” A true and correct copy of the original U.S. label for Listerine Total Care is attached

   hereto as Exhibit M.

                  48.     “Fights unsightly plaque above the gum line” referred to the fact that

   Listerine Total Care provides a cosmetic benefit by helping to prevent the accumulation of

   visible plaque on teeth. (“Above the gum line” is a way of referring to the visible portion of a

   tooth – i.e., the portion not covered by the gum.)

                  49.     Plaque is a layer of bacteria or “biofilm” that forms on the surface of teeth.

   If allowed to accumulate, plaque can build up and form visible tartar or “calculus.”

                  50.     The essential oils in Listerine Total Care provide a cosmetic benefit by

   helping to prevent plaque from building up to the point of becoming visible or unsightly.

                  51.     On September 27, 2010, McNeil received a letter from the FDA

   concerning the “fights unsightly plaque above the gum line” statement on the label. According

   to the FDA letter, the statement could be viewed as a therapeutic “drug” claim relating to plaque

   and gingivitis. A true and correct copy of the September 27 letter from FDA is attached as

   Exhibit N.

                  52.     As noted above, Listerine Total Care is classified for regulatory purposes

   as an anticavity mouthwash. The only therapeutic claims permitted by FDA for such products

   relate to the prevention of dental caries. See FDA Final Monograph, Anticaries Drug Products

   for Over-the-Counter Human Use, 60 Fed. Reg. 52474, 52508-09 (Oct. 6, 1995) (hereinafter the




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   “Anticavity Monograph”). A true and correct copy of the Anticavity Monograph is attached as

   Exhibit O.

                     53.   In response to the FDA’s letter McNeil voluntarily modified the Listerine

   Total Care label. Specifically, McNeil removed the statement “fights unsightly plaque above the

   gum line” and replaced it with a different cosmetic claim, “cleans the whole mouth.” See Exhibit

   E. After the change, the FDA sent McNeil a “close out” letter that concluded the matter. A true

   and correct copy of this letter is attached as Exhibit P.

                     54.   In changing the label, McNeil did not acknowledge that there was

   anything inaccurate on the original Listerine Total Care label. Importantly, FDA never

   suggested – and McNeil never indicated – that the essential oils in Listerine Total Care lack

   antiplaque benefits. Both the FDA letter and McNeil’s voluntary label revision concerned only

   the regulatory issue of whether “fights unsightly plaque above the gum line” was a cosmetic

   claim permitted by applicable FDA regulations, or a therapeutic claim not permitted for an

   anticavity mouthwash such as Listerine Total Care. Other than the plaintiffs in these

   consolidated lawsuits, no one to my knowledge has ever questioned the scientific accuracy of

   that statement.

   Conclusion

                     55.   I understand that plaintiffs allege that Listerine Total Care cannot “fight

   unsightly plaque above the gum line” because its sole active ingredient is sodium fluoride, which

   fights cavities but not plaque. This is incorrect. In addition to sodium fluoride, Listerine Total

   Care contains eucalyptol, menthol, methyl salicylate and thymol at concentrations that have been

   shown to combat plaque and gingivitis. FDA’s scientific advisory committee has concluded that

   these ingredients are safe and effective for the prevention of plaque and gingivitis, and this




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